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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 Arturo Yeremis,                                                                   10/19/2020

                        Plaintiff,
                                                                                20-cv-5086 (AJN)
                –v–
                                                                                     ORDER
 Amerit Fleet Solutions, et al.,

                        Defendant.



ALISON J. NATHAN, District Judge:

        On September 22, 2020, the Court ordered Yeremis to file an affidavit of service no later

than October 2, 2020. Yeremis filed an affidavit of service for defendants Amerit Fleet

Solutions and A-1 All German Car Corporation. However, Yeremis has not filed an affidavit of

service for defendants Charter Communications Inc. and City of New York Police Department.

No defendant has entered an appearance in the case. The Court has not received the parties’ joint

letter and proposed case management plan that was required to be submitted on October 16,

2020.

        Yeremis is ordered to serve defendants Charter Communications Inc. and City of New

York Police Department and to file an affidavit of service no later than October 26, 2020, or to

inform the Court by the same date that he intends to voluntarily dismiss those defendants. If

Yeremis fails to do so, the Court will dismiss the action against those defendants for failure to

prosecute.

        The Initial Pretrial Conference scheduled for October 23, 2020, is adjourned to December

4, 2020, at 3:15 p.m. The parties must submit their joint letter and proposed case management

plan no later than seven days before the conference.
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       The Court reminds the parties that pursuant to Rule 1.I of this Court’s Individual

Practices in Civil cases, all attorneys are required to promptly enter an appearance in the case.

Failure to appear or otherwise defend the action may result in the entry of default judgment.

       Yeremis shall serve a copy of this Order on all defendants and file an affidavit of service

on the public docket no later than October 26, 2020.


       SO ORDERED.


Dated: October 19, 2020                              __________________________________
       New York, New York                                     ALISON J. NATHAN
                                                            United States District Judge




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